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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                   7     PHIL MICKELSON, et al.,                           Case No. 22-cv-04486-BLF (SVK)
                                   8                    Plaintiffs,
                                                                                           ORDER ON JOINT STATEMENT
                                   9             v.                                        REGARDING PLAINTIFFS'
                                                                                           INTERROGATORIES NOS. 4-6
                                  10     PGA TOUR, INC.,
                                                                                           Re: Dkt. No. 175
                                  11                    Defendant.

                                  12
Northern District of California
 United States District Court




                                  13          The Court has reviewed the Parties’ joint discovery submission (“Submission”), the Tour’s

                                  14   responses to Interrogatories Nos. 4-6, which are the subject of the dispute, and the relevant law

                                  15   and litigation history in this action. Dkt. 175. The Court determines that this dispute may be

                                  16   resolved without oral argument. Civ. L. R. 7-1(b). The Court’s rulings are set forth in the

                                  17   attached Exhibit A. To the extent ordered, the Tour is to provide supplemental, verified responses

                                  18   no later than January 6, 2023.

                                  19          SO ORDERED.

                                  20   Dated: December 14, 2022

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                                                                                                    SUSAN VAN KEULEN
                                  23                                                                United States Magistrate Judge
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